  Case 19-21395      Doc 37    Filed 10/25/19 Entered 10/28/19 09:33:47                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      19-21395
                                             )
Gerome P. Calara and Rhodora Calara,         )               Chapter: 13
                                             )
                                                             Honorable Janet S. Baer
                                             )
                                             )               Kane
               Debtor(s)                     )

   ORDER GRANTING AMERICAN AIRLINES FEDERAL CREDIT UNION'S AMENDED
               MOTION FOR RELIEF FROM AUTOMATIC STAY

        This matter comes before the Honorable Janet S. Baer, Bankruptcy Judge for the Northern
District of Illinois, Eastern Division for hearing on Creditor American Airlines Federal Credit Union's
Amended Motion for Relief from the Automatic Stay. Due notice having been served upon all parties in
interest, the Court having jurisdiction and being fully advised of the premises finds:

   NOW THEREFORE, IT IS HEREBY ORDERED that the Motion is granted in all respects and
American Airlines Federal Credit Union is granted relief from the automatic stay pursuant to 11 U.S.C.
§ 362. American Airlines Federal Credit Union may apply the $6,740.92 in Mr. Calara's share account
to his indebtedness on his line of credit. American Airlines Federal Credit Union is ordered to file an
amended proof of claim reflecting the new amount of its claim within 14 days of this order.




                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: October 25, 2019                                           United States Bankruptcy Judge

 Prepared by:
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